Case: 16-1546
          Case 1:16-cv-10105-DJC
                Document: 27 Page:
                                 Document
                                    1  Date
                                          50 Filed:
                                              Filed 03/24/2017
                                                    03/24/17 Page
                                                                Entry
                                                                  1 of ID:
                                                                        1 6078691




               United States Court of Appeals
                              For the First Circuit
 No. 16-1546
                                    ANDRE BISASOR

                                   Plaintiff - Appellant

                                            v.

       DANSLAV SLAVENSKOJ; HARVARD EXTENSION SCHOOL / HARVARD
    UNIVERSITY; ROBERT H. NEUGEBOREN; MICHAEL SHINAGEL; HUNTINGTON
    LAMBERT; SHIRLEY R. GREENE; MARGARET C. ANDREWS; PHILIP HARDING;
             ASHLEY R. POLLOCK; KRISHAN ARORA; KEN VEDAA

                                  Defendants - Appellees


                                       MANDATE

                                 Entered: March 24, 2017

        In accordance with the judgment of March 2, 2017, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                          By the Court:

                                          /s/ Margaret Carter, Clerk


 cc:
 Andre Bisasor
 John Patrick Coakley
 Stephen David Coppolo
 Joseph Patrick Dever
 William P. Mekrut
 Danslav Slavenskoj
